       Case 3:23-cv-00125-HTW-LGI Document 6 Filed 03/15/23 Page 1 of 3   UNITED STATES DISTRICT COURT
                                                                         SOUTHERN DISTRICT OF MISSISSIPPI


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                                                                                  Mar 15 2023
                                                                           ARTHUR JOHNSTON, CLERK
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                   IN THE UNITED STATES DISTRICT COURT By: _________________ , Deputy Clerk


                 FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            NORTHERN DIVISION



SHERYL ALLEN                                                                       PLAINTIFF

v.                                           CIVIL ACTION NO. 3:23cv125-HTW-LGI

EAST CENTRAL COMMUNITY COLLEGE                                                DEFENDANT



                            RULE 16(a) INITIAL ORDER

    The above captioned cause is set for a TELEPHONIC CASE MANAGEMENT
CONFERENCE (TCMC) on April 28, 2023 at 11:00 am before:


                 United States Magistrate Judge LaKeysha Greer Isaac
                            501 E. Court Street, Suite 6.150
                                 Jackson, MS 39201
                         isaac_chambers@mssd.uscourts.gov
Dial-in Number to use for Conference: (888) 684-8852 PASSCODE: 3566012


     Unless otherwise instructed, the above dial-in number will be used for the
                    Telephonic Case Management Conference.


       No later than twenty-one (21) days prior to the TCMC, counsel shall confer
regarding all matters set forth in L.U.Civ. R. 26(f).

        No later than fourteen (14) days after the attorney conference and seven (7) days
prior to the TCMC, counsel shall submit a proposed case management order to the
judge only. This submission shall not be filed with the Clerk of Court. By the same
deadline, counsel shall also submit a confidential memorandum (3 page maximum)
setting forth a brief explanation of the case, and a candid appraisal of the respective
positions, including possible settlement figures to:

                         isaac_chambers@mssd.uscourts.gov
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(PRO SE persons must MAIL their memo instead of using the e-mail address.) Counsel
will also furnish in their memorandum a good-faith estimate of the expense of carrying
the litigation through trial and the appellate process, if not settled, and will have
discussed these costs with their respective clients. These memoranda are not to be
exchanged and will be viewed only by the Court. Further, these memoranda shall not be
filed with the Clerk of Court. Do not mail a separate copy.

THE FAILURE OF ANY PARTY TO TIMELY SUBMIT THE PROPOSED CASE
MANAGEMENT ORDER AND CONFIDENTIAL MEMORANDA MAY
REQUIRE ATTENDANCE IN PERSON BY ALL DEFAULTING COUNSEL AT
THE CASE MANAGEMENT CONFERENCE. ALL ATTORNEYS OF RECORD
FOR THE DEFAULTING PARTY SHALL BE REQUIRED TO ATTEND AND
THE CONFERENCE SHALL NOT BE SUBJECT TO RESCHEDULING.
SANCTIONS WILL BE IMPOSED AT THE CONFERENCE.

      At the telephonic case management conference, the Court and the parties shall:

      1.   Identify the principal factual and legal issues in dispute;
      2.   Identify the alternative dispute resolution procedure which counsel
           intend to use, or report specifically why no such procedure would
           assist in the resolution of the case;
      3.   Indicate whether all parties consent to jurisdiction by a magistrate
           judge;
      4.   Review the parties’ compliance with their disclosure obligations and
           consider whether to order additional disclosures;
      5.   Determine whether to order early filing of any motions that might
           significantly affect the scope of discovery or other aspects of the
           litigation, and provide for the staged resolution, or bifurcation of
           issues for trial consistent with 42(b) Fed.R.Civ.P.;
      6.   Determine the plan for at least the first stage of discovery; impose
           limitations on each discovery tool, time periods and other
           appropriate matters;
      7.   Determine the date for the Local Rule 26(g) settlement conference or
           mediation;
      8.   Discuss scheduling and set appropriate scheduling deadlines
           including dates for a settlement conference, completion of discovery,
           motions, the final pretrial conference and trial. The parties should be
           prepared to discuss prior conflicts with the trial date.
      9.   Verify that counsel are registered for electronic document filing and
           are familiar with the Administrative Procedures for Electronic
           Filing.
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       A Case Management Order shall be entered by the Court after the conference. A
Uniform Case Management Order form and case management time lines have been
developed and are available on the Court 's website at www.mssd.uscourts.gov and as
Form No. 1 in the revised Uniform Local Rules, effective December 1, 2015. Counsel
shall use that format in discussions and preparation. The Uniform Local Rules are also
available on the Court's website.


                                                /s/ Lakeysha Greer Isaac
                                               LAKEYSHA GREER ISAAC
                                          UNITED STATES MAGISTRATE JUDGE

Dated: March 15, 2023
